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                                                                                   FILED
                                                                                U.S. DISTRICT COURT
                                                                           .EASTERN DISTRI    ARKANSAS

                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION        JAME
                                                                        By:
                                                                              ----"?,";-n-,~'#5;~;-;:-=
BONNIE NORMAN, Individually and on
Behalf of All Others Similarly Situated


vs.                                  No. 4~cv-_H2-/JP/4.,




      COMES NOW Plaintiff Bonnie Norman, individually and on behalf of all others

similarly situated, by and through her attorney Josh Sanford of Sanford Law Firm,

PLLC, and for her Original Complaint ("Complaint") against Defendant Independent

Case Management, Inc. ("Defendant"), she states and alleges as follows:

                          I.   PRELIMINARY STATEMENTS

      1.     This is a collective action brought by Bonnie Norman, individually and on

behalf of all others similarly situated, against Defendant for violations of the minimum

wage and overtime provisions of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

(the "FLSA"), and the Arkansas Minimum Wage Act, Ark. Code Ann. § 11-4-201 et seq.

(the "AMWA"), and Ark. Code Ann. § 11-4-405.

      2.     Plaintiff seeks a declaratory judgment, monetary damages, liquidated

damages, prejudgment interest, and a reasonable attorney's fee and costs as a result of

Defendant's failure to pay proper wages under the FLSA and the AMWA.




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                           II.    JURISDICTION AND VENUE

       3.     The United States District Court for the Eastern District of Arkansas has

subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331

because this suit raises federal questions under the FLSA.

       4.     This Complaint also alleges AMWA violations, which arise out of the same

set of operative facts as the federal cause of action; accordingly, this Court has

supplemental jurisdiction over Plaintiff's AMWA claims pursuant to 28 U.S.C. § 1367(a).

       5.      Defendant conducts business within the State of Arkansas, facilitating self-

directed home care.

       6.     Venue lies properly within this Court under 28 U.S.C. § 1391 (b)(1) and

(c)(2), because the State of Arkansas has personal jurisdiction over Defendant, and

Defendant therefore "resides" in Arkansas.

       7.      Defendant does business in this district and a substantial part of the

events alleged herein occurred within the Western Division of the Eastern District of

Arkansas; therefore, venue is proper within this District pursuant to 28 U.S.C. § 1391.

                                    Ill.   THE PARTIES

       8.      Plaintiff repeats and re-alleges all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       9.      Plaintiff is an individual and resident of Pulaski County.

       10.     At all times material herein, Plaintiff has been entitled to the rights,

protections, and benefits provided under the FLSA.

       11.     Defendant is a domestic, not-profit corporation.




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       12.     Defendant's registered agent for service is Cindy Alberding, at 1525 Merrill

Drive, Suite 100, Little Rock, Arkansas 72211.

       13.    Within the three years preceding the filing of this Complaint, Defendant

has continuously employed at least four employees.

       14.     Defendant has at least two employees engaged in commerce or in the

production of goods for commerce, or handling, selling, or otherwise working on goods

or materials that have been moved in or produced for commerce.

       15.     Defendant's annual gross volume of sales made or business done is not

less than $500,000.00 (exclusive of excise taxes at the retail level that are separately

stated) in each of the three years preceding the filing of the Original Complaint.

                               IV.    FACTUAL ALLEGATIONS

       16.     Plaintiff repeats and re-alleges all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       17.     Defendant employed Plaintiff as a home health care worker from 2017

until September of 2019.

       18.    As a home health care worker, Plaintiff and similarly situated employees

assisted their clients with personal care, bathing, grooming, administering medication,

and preparing meals.

       19.     The wages the Plaintiff and similarly situated employees received from

Defendant were provided by the Independent Choices program.

       20.     Defendant interviewed each Plaintiff and each similarly-situated employee

before hiring them.




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       21.    Defendant retained the power to fire Plaintiff and similarly situated

employees.

       22.    Defendant monitored the number of hours Plaintiff and similarly situated

employees worked, including requiring Plaintiff and similarly situated employees to send

timecards directly to Defendant.

       23.    Plaintiff and similarly situated employees received paychecks directly from

Defendant.

       24.    Defendant performed periodic assessments of both home health care

workers and their clients at the clients' homes.

       25.    Defendant failed to pay Plaintiff and similarly situated employees for all the

hours they worked.

       26.    Plaintiff continued to submit her timesheets to Defendant, despite not

receiving full pay for the hours submitted.

                     V.   REPRESENTATIVE ACTION ALLEGATIONS

       27.    Plaintiff repeats and re-alleges all previous paragraphs of this Complaint

as though fully incorporated in this section.

       28.    Plaintiff brings her claims for relief for violation of the FLSA as a collective

action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of all

persons who were, are, or will be employed by Defendant as similarly situated salaried

employees at any time within the applicable statute of limitations period, who are

entitled to payment of the following types of damages:

       A.     Minimum wages for all hours worked;

       B.     Overtime premiums for all hours worked in excess of forty per week;

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         C.    Liquidated damages; and

         D.    The costs of this action, including attorney's fees.

         29.   Plaintiff is unable to state the exact number of the class, but believes it

includes more than 100 persons.

         30.   Plaintiff proposes the following class under the FLSA:

               All home health care workers within the past three years.

         31.   In conformity with the requirements of FLSA Section 16(b), Plaintiff has

filed or will soon file written Consents to Join this lawsuit.

         32.   The relevant time period dates back three years from the date on which

Plaintiff's Original Complaint-Collective Action was filed herein and continues forward

through the date of judgment pursuant to 29 U.S.C. § 255(a), except as set forth herein

below.

         33.   The proposed FLSA class members are similarly situated in that they

share the following traits:

         A.    They had the same or substantially similar job duties and requirements;

         B.    They were subject to Defendant's common policies such as hiring

requirements, periodic assessments, and timesheet submission; and

         C.    They were subject to Defendant's common policy of failing to pay them for

all hours worked.

         34.   Defendant can readily identify the members of the class, who are a certain

portion of the current and former employees of Defendant.

         35.   The names, email addresses, and physical and mailing addresses of the

FLSA collective action plaintiffs are available from Defendant, and a Court-approved

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notice should be provided to the FLSA collective action plaintiffs via first class mail and

email to their last known physical and electronic mailing addresses as soon as possible,

together with other documents and information descriptive of Plaintiffs' FLSA claim.

                             VI.     FIRST CLAIM FOR RELIEF
                             (Individual Claim for FLSA Violation)
        36.   Plaintiff repeats and re-alleges all previous paragraphs of this Complaint

as though fully set forth herein.

        37.   Plaintiff asserts this claim for damages and declaratory relief pursuant to

the FLSA, 29 U.S.C. § 201, et seq.

        38.   At all relevant times, Defendant has been, and continues to be, an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

        39.   29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to forty (40) in one week

and to pay one and one-half (1.5) times their regular wages for all hours worked over

forty (40) in a week, unless an employee meets certain exemption requirements of 29

U.S.C. § 213 and all accompanying Department of Labor regulations.

        40.   Defendant classified Plaintiff as non-exempt from the requirements of the

FLSA.

        41.   Defendant failed to pay Plaintiff a minimum wage for all hours worked.

        42.   Defendant failed to pay Plaintiff a proper overtime rate for all hours worked

over forty (40) each week.

        43.   Defendant knew or should have known that its actions violated the FLSA.

        44.   Defendant's conduct and practices, as described above, was willful.


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       45.     By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiff for monetary damages, liquidated damages and costs, including reasonable

attorney's fees provided by the FLSA for all violations which occurred beginning at least

three (3) years preceding the filing of Plaintiffs' initial complaint, plus periods of

equitable tolling.

       46.     Defendant has not acted in good faith nor with reasonable grounds to

believe its actions and omissions were not a violation of the FLSA, and, as a result

thereof, Plaintiff is entitled to recover an award of liquidated damages in an amount

equal to the amount of unpaid minimum wage and unpaid overtime premium pay

described above pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

       47.     Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiff as provided by the FLSA, Plaintiffs are entitled to an award of

prejudgment interest at the applicable legal rate.

                        VII.     SECOND CLAIM FOR RELIEF
                          (Individual Claim for AMWA Violation)
       48.     Plaintiff repeats and re-alleges all previous paragraphs of this Complaint

as though fully set forth herein.

       49.     Plaintiff asserts this claim for damages and declaratory relief pursuant to

the AMWA, Ark. Code Ann. §§ 11-4-201, et seq.

       50.     At all relevant times, Defendant was Plaintiff's "employer" within the

meaning of the AMWA, Ark. Code Ann. § 11-4-203(4).

       51.     Sections 210 and 211 of the AMWA require employers to pay all

employees a minimum wage for all hours worked, and to pay one and one-half times

regular wages for all hours worked over forty hours in a week, unless an employee
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meets the exemption requirements of 29 U.S.C. § 213 and accompanying Department

of Labor regulations.

       52.     Defendant classified Plaintiff as non-exempt from the requirements of

AMWA.

       53.     Defendant failed to pay Plaintiff a minimum wage for all hours worked.

       54.     Defendant failed to pay Plaintiff a proper overtime rate for all hours worked

over forty (40) each week.

       55.     Defendant knew or should have known that its practices violated the

AMWA.

       56.     Defendant's conduct and practices, as described above, were willful,

intentional, unreasonable, arbitrary, and in bad faith.

       57.     By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiff for, and Plaintiff seeks, monetary damages, liquidated damages, prejudgment

interest, and costs, including reasonable attorney's fees as provided by the AMWA.

                            VIII.   THIRD CLAIM FOR RELIEF
                        (Collective Action Claim for FLSA Violation)

       58.     Plaintiff repeats and re-alleges all previous paragraphs of this Complaint

as though fully incorporated in this section.

       59.     Plaintiff, each individually and on behalf of all others similarly situated,

assert this claim for damages and declaratory relief pursuant to the FLSA, 29 U.S.C. §

201, et seq.

       60.     At all times relevant times to this Complaint, Defendant has been, and

continues to be, an "employer" of Plaintiff and all those similarly situated within the

meaning of the FLSA, 29 U.S.C. § 203.
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       61.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to forty (40) in one week

and to pay one and one-half (1.5) times their regular wages for all hours worked over

forty (40) in a week, unless an employee meets certain exemption requirements of 29

U.S.C. § 213 and all accompanying Department of Labor regulations.

       62.    All times relevant to this Complaint, Defendant failed to pay Plaintiff and all

others similarly situated the minimum wage required by the FLSA.

       63.    Despite the entitlement of Plaintiff and those similarly situated to overtime

payments under the FLSA, Defendant failed to pay Plaintiff and all those similarly

situated an overtime rate of one and one-half times their regular rates of pay for all

hours worked over forty (40) in each one-week period.

       64.    Defendant's failure to pay Plaintiffs and other similarly situated a proper

minimum wage and overtime rate was willful.

       65.    By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs and all those similarly situated for monetary damages, liquidated damages,

and costs, including reasonable attorneys' fees, for all violations that occurred within the

three (3) years prior to the filing of this Complaint.

                                IX.     PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiff Bonnie Norman respectfully pray

that Defendant be summoned to appear and to answer this Complaint and for

declaratory relief and damages as follows:

       A.     Declaratory judgment that Defendant's practices alleged in this Complaint

violate the FLSA, the AMWA, and their related regulations;

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      B.     Judgment for damages suffered by Plaintiff for all unpaid minimum wage

and overtime premiums under the FLSA, the AMWA and their related regulations;

      C.     Judgment for liquidated damages owed to Plaintiff pursuant to the FLSA,

the AMWA, and their related regulations;

      D.     An order directing Defendant to pay Plaintiff prejudgment interest, a

reasonable attorney's fee and all costs connected with this action; and

      E.     Such other and further relief as this Court may deem just and proper.

                                                    Respectfully submitted,

                                                    BONNIE NORMAN, Individually
                                                    and on Behalf of All Others
                                                    Similarly Situated, PLAINTIFFS

                                                    SANFORD LAW FIRM, PLLC
                                                    One Financial Center
                                                    650 South Shackleford Road, Suite 411
                                                    Little Rock, Arkansas 72211
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